Case 1:25-cv-00039-JJM-PAS   Document 68-125   Filed 02/07/25   Page 1 of 3 PageID
                                   #: 6491




                   Thomas-Jensen
                    Affirmation



                     Exhibit # 125
                     Case 1:25-cv-00039-JJM-PAS       Document 68-125 Filed 02/07/25   Page 2 of 3 PageID
                                                      CUI//SP-BUDG
                                                            #: 6492    #




                                               IIJA
Addressing Emerging Contaminant Grants
Battery Recycling Best Practices
Brownfields
Chesapeake Bay
Clean Water State Revolving Loan Funds
Clean Water State Revolving Loan Funds - Emerging Contaminants
Columbia River Basin
Drinking Water Programs - Class VI Wells
Drinking Water State Revolving Loan Funds
Drinking Water State Revolving Loan Funds - Emerging Contaminants
Drinking Water State Revolving Loan Funds - Lead Service Line Replacement
Great Lakes Restoration Initiative
Gulf Hypoxia Action Plan
Gulf of Mexico (America)
Lake Champlain
Lake Pontchartrain
Long Island Sound
National Estuary Program Grants
Pacific Northwest
Pollution Prevention Grants


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                     Case 1:25-cv-00039-JJM-PAS   Document 68-125 Filed 02/07/25   Page 3 of 3 PageID
                                                  CUI//SP-BUDG
                                                        #: 6493    #




Puget Sound
Recycling Grants
San Francisco Bay
Solid Waste Infrastructure Financing - Save Our Seas Act Grants
South Florida
Southern New England Estuaries
Superfund Remedial
UIC Grants
Voluntary Battery Labeling Guidelines




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